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                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Martin Ragsdale,

 Plaintiff(s),

 v.                                                   Case No. 20 cv 560
                                                      Judge Joan B. Gottschall
 Amazon Web Services, Inc.,

 Defendant(s).

                                           ORDER


Status hearing set for 2/26/2020 at 9:30 AM in Courtroom 2325. Counsel are reminded that
pursuant to LR 5.2(f), a stapled and/or bound paper copy of all electronically filed pleadings,
including the notice of removal, must be delivered to the Judge's Deputy Clerk, Room (2332-A)
within one business day of filing. Noncompliance with LR 5.2(f) will result in the imposition of
a $200.00 fine payable to the Clerk of the Court, 219 South Dearborn Street, 20th Floor,
Chicago, Illinois 60604. Parties are directed to discuss settlement and whether they consent to
proceed before the Magistrate Judge. They are further directed to meet and confer regarding a
proposed discovery plan. See Judge Gottschall's civil case management packet regarding pretrial
case management procedures at: http://www.ilnd.uscourts.gov.




Date: 1/27/2020                                                 /s/
                                                    JOAN B. GOTTSCHALL
                                                    United States District Judge
